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                                                                                      Pulaski County Circuit Court
                                                                                Terri Hollingsworth, Circuit/County Clerk
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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                               1WELITH DMSION


LINDSEY HUFF AND CHRIS HUFF                                                            PLAINTIFFS


V.                                      NO. 60CV-19-2287


ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY                                                                   DEFENDANT


                                            ANSWER

       COMES NOW Defendant, Allstate Property and Casualty Insurance Company, by and

through its attorneys, Barber Law Firm PLLC, and for its Answer to the Complaint of Plaintiffs,

Lindsey Huff and Chris Huff, states:

                                 JURISDICTION AND VENUE

       l.      That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph l of Plaintiffs' Complaint and,

therefore, denies the same;

       2.      That Defendant admits the allegations contained within Paragraph 2 of Plaintiffs'

Complaint;

       3.      That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 3 of Plaintiffs' Complaint and,

therefore, denies the same;
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       4.      That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 4 of Plaintiffs' Complaint and,

therefore, denies the same;

       5.      That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 5 of Plaintiffs' Complaint and,

therefore, denies the same;

       6.      That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 6 of Plaintiffs' Complaint and,

therefore, denies the same;

                                              FACTS

       7.      That, in response to Paragraph 7 of Plaintiffs' Complaint, Defendant admits an

incident occurred on or about December 29, 2016, on US Highway 64 near Sunny Gap Road in

Faulkner County, Arkansas, involving vehicles driven by Plaintiff, Lindsey Huff, and non,party,

Theresa Huffington; that Defendant is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained within Paragraph 7 of Plaintiffs'

Complaint and, therefore, denies the same;

       8.      That, in response to Paragraph 8 of Plaintiffs' Complaint, Defendant admits an

incident occurred on US Highway 64 involving vehicles driven by Plaintiff, Lindsey Huff, and

non,party, Theresa Huffington; that Defendant is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained within Paragraph 8 of

Plaintiffs' Complaint and, therefore, denies the same;




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          9.    That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 9 of Plaintiffs' Complaint and,

therefore, denies the same;

          10.   That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 10 of Plaintiffs' Complaint and,

therefore, denies the same;

          11.   That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 11 of Plaintiffs' Complaint and,

therefore, denies the same;

          12.   That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 12 of Plaintiffs' Complaint and,

therefore, denies the same;

          13.   That Paragraph 13 of Plaintiffs' Complaint, including subparts A through I,

contains no allegations directed toward Defendant and, therefore, requires no response; that, to

the extent the allegations contained within Paragraph 13 of Plaintiffs' Complaint, including

subparts A through I, may be deemed as being directed toward Defendant, those allegations are

denied;

          14.   That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 14 of Plaintiffs' Complaint, including

subparts A through M, and, therefore, denies the same and demands strict proof thereof;

          15.   That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 15 of Plaintiffs' Complaint and,

therefore, denies the same;


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          16.   That Defendant admits the allegations contained within Paragraph 16 of

Plaintiffs' Complaint;

          17.   That, in response to Paragraph 17 of Plaintiffs' Complaint, Defendant admits

Allstate Property and Casualty Company issued an Auto Policy to Separate Plaintiff, Chris Huff,

with the policy number being 0945291169;

          18.   That, in response to Paragraph 18 of Plaintiffs' Complaint, Defendant admits

Allstate Property and Casualty Company issued an Auto Policy to Separate Plaintiff, Chris Huff,

with the policy number being 0945291169 and that said policy had an effective policy period

beginning November 15, 2016, through May 15, 2017;

          19.   That, in response to Paragraph 19 of Plaintiffs' Complaint, Defendant states that

Separate Plaintiff, Lindsey Huff, is a listed driver on the policy;

          20.   That, in response to Paragraph 20 of Plaintiffs' Complaint, Defendant admits

Plaintiffs attached as Exhibit "A" to their Complaint a redacted copy of the auto policy

declarations, which document speaks for itself, and, to the extent the allegations contained in

Paragraph 20 of Plaintiffs' Complaint are inconsistent with that document, those allegations are

denied;

          21.   That, in response to Paragraph 21 of Plaintiffs' Complaint, Defendant admits

Plaintiffs attached as Exhibit "A" to their Complaint a redacted copy of the auto policy

declarations, which document speaks for itself, and, to the extent the allegations contained in

Paragraph 21 of Plaintiffs' Complaint are inconsistent with that document, those allegations are

denied;

          22.   That Defendant admits the allegations contained within Paragraph 22 of

Plaintiffs' Complaint;


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        23.     That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 23 of Plaintiffs' Complaint and,

therefore, denies the same;

        24.     That, in response to Paragraph 24 of Plaintiffs' Complaint, Defendant states that

Allstate Property and Casualty Insurance Company agreed to waive its right of subrogation and

allow Plaintiffs to settle with the tortfeasor's liability insurer; that Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

contained within Paragraph 24 of Plaintiffs' Complaint and, therefore, denies the same;

        25.    That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 25 of Plaintiffs' Complaint and,

therefore, denies the same;

       26.     That, in response to Paragraph 26 of Plaintiffs' Complaint, Defendant admits

Plaintiffs have made demand upon Allstate Property and Casualty Insurance Company for the

underinsured motorists insurance coverage limits; that Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained

within Paragraph 26 of Plaintiffs' Complaint and, therefore, denies the same;

       2 7.    That, in response to Paragraph 2 7 of Plaintiffs' Complaint, Defendant admits

Allstate Property and Casualty Insurance Company did not tender the underinsured motorists

insurance coverage limits and offered to negotiate a reasonable amount to compensate Separate

Plaintiff, Lindsey Huff, for her claim for injuries and damages;

       28.     That, in response to Paragraph 28 of Plaintiffs' Complaint, Defendant states

Allstate Property and Casualty Insurance Company offered to negotiate a reasonable amount to

compensate Separate Plaintiff, Lindsey Huff, for her claim for injuries and damages; that


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Defendant is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained within Paragraph 28 of Plaintiffs' Complaint and, therefore,

denies the same;

                   CAUSE OF ACTION #1 - BREACH OF CONTRACT

          29.   That, in response to Paragraph 29 of Plaintiffs' Complaint, Defendant admits
                                   '

Plaintiffs attached as Exhibit "A" to their Complaint a redacted copy of the auto policy

declarations, which document speaks for itself, and, to the extent the allegations contained in

Paragraph 29 of Plaintiffs' Complaint are inconsistent with that document, those allegations are

denied;

          30.   That, in response to Paragraph 30 of Plaintiffs' Complaint, Defendant admits

Plaintiffs attached as Exhibit "B" to their Complaint a sample copy of the Auto Policy, which

document speaks for itself, and, to the extent the allegations contained in Paragraph 30 of

Plaintiffs' Complaint are inconsistent with the language in that document, those allegations are

denied;

          31.   That Defendant denies the allegations contained within Paragraph 31 of Plaintiffs'

Complaint and demands strict proof thereof;

          32.   That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 32 of Plaintiffs' Complaint and,

therefore, denies the same;

          33.   That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 33 of Plaintiffs' Complaint and,

therefore, denies the same;




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       34.     That Defendant denies the allegations contained within Paragraph 34 of Plaintiffs'

Complaint;

       35.     That Defendant denies the allegations contained within Paragraph 35 of Plaintiffs'

Complaint;

                          CAUSE OF ACTION #2 - BAD FAITH

       36.     That Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained within Paragraph 36 of Plaintiffs' Complaint and,

therefore, denies the same;

       3 7.    That Defendant denies the allegations contained within Paragraph 3 7 of Plaintiffs'

Complaint;

       38.     That Defendant denies the allegations contained within Paragraph 38 of Plaintiffs'

Complaint;

       39.     That Defendant denies the allegations contained within Paragraph 39 of Plaintiffs'

Complaint;

       40.    That Defendant denies the allegations contained within Paragraph 40 of Plaintiffs'

Complaint;

       41.    That Defendant denies the allegations contained within Paragraph 41 of Plaintiffs'

Complaint;

       42.    That Defendant denies the allegations contained within Paragraph 42 of Plaintiffs'

Complaint;

                        AMOUNT OF DAMAGES
      {FOR TURISDICTIONAL PURPOSES UNDER Ark. Code Ann. § 16..63 ..221)

       43.    That Defendant denies the allegations contained within Paragraph 43 of Plaintiffs'

Complaint and demands strict proof thereof;
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                                 DEMAND FOR TRIAL BY JURY

        44.     That, in response to Paragraph 44 of Plaintiffs' Complaint, Defendant concurs

with Plaintiffs and respectfully requests a trial by jury on all issues of fact arising herein;

                         PRESERVATION OF ADDIDONAL CLAIMS

        45.     That, in response to Paragraph 45 of Plaintiffs' Complaint, Defendant reserves the

right to amend its Answer herein and plead further pending the completion of discovery;

                                       PRAYER FOR RELIEF

        46.     That Defendant denies Plaintiffs are entitled to the damages sought in Paragraph

46 of Plaintiffs' Complaint;

        4 7.    That Defendant denies Plaintiffs are entitled to the damages sought in Paragraph

4 7 of Plaintiffs' Complaint;

        48.     That Defendant denies Plaintiffs are entitled to the damages sought in Paragraph

48 of Plaintiffs' Complaint;

        49.     That Defendant denies Plaintiffs are entitled to the damages sought in Paragraph

49 of Plaintiffs' Complaint;

        50.     That Defendant denies Plaintiffs are entitled to the damages set forth in the

"WHEREFORE" clause of Plaintiffs' Complaint;

        51.     That Defendant denies all other allegations contained within Plaintiffs' Complaint

not, specifically, admitted herein;

                                      AFFIRMATIVE DEFENSES

        52.    That, pleading affirmatively, Plaintiffs' Complaint should be dismissed pursuant to

Ark. R. Civ. P. Rule 12 (b) (6) for failure to state facts upon which relief can be granted;




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        53.     That, pleading affirmatively, Plaintiffs' Complaint should be dismissed pursuant to

Ark. R. Civ. P. Rules 12 (b) (1), (2), and (3) for lack of jurisdiction over the subject matter and

person and improper venue;

        54.    That, pleading affirmatively, Defendant pleads any and all defenses which may be

applicable pursuant to Ark. R. Civ. P. Rule 8(c), including, but not limited to, arbitration and

award, estoppel, failure of consideration, laches, payment, release, set-off, statute of limitations,

and waiver;

       55.     That, pleading affirmatively, Defendant states Plaintiffs are not entitled to an

award of punitive damages and that such an award is in violation of the Due Process Clauses

contained in the Fifth and Fourteenth Amendments to the United States Constitution and

applicable provisions of the Arkansas Constitution in that:

        (a) said damages are intended to punish and deter defendants, and, thus, this

       proceeding is essentially criminal in nature;

       (b) in assessing such penalty or exemplary award, plaintiffs need only prove the theory

       of gross negligence on a preponderance of the evidence standard and not a "beyond a

       reasonable doubt," as should be required in assessing a punishment award;

       (c) such awards are unduly vague and do not meet the requirements of due process in

       that punitive and exemplary damages are not based on a clearly defined statutory

       enactment setting forth specific requirements; and

       (d) defendants are subjected to all the hazards and risks of what amounts to a fine;

       and, in fact, such awards often exceed nominal criminal fines, but defendants receive

       none of the basic rights accorded to a criminal defendant when being subjected to

       possible criminal penalties.


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        56.    That, pursuant to Ark. Code Ann. §16-55-211, and, in the event the fact finder

first determines Plaintiffs are entitled to compensatory damages, Defendant requests a bifurcated

proceeding so that the fact finder may then determine whether and in what amount punitive

damages will be awarded;

       WHEREFORE, Defendant, Allstate Property and Casualty Insurance Company, prays the

Complaint of Plaintiffs, Lindsey Huff and Chris Huff, be dismissed; for a trial by jury on all issues

of fact arising herein; for its attorneys' fees and costs expended herein; and for all other just and

proper relief to which it may be entitled.


                                               Respectfully submitted,

                                               BARBER LAW FIRM PLLC
                                               425 West Capitol Avenue, Suite 3400
                                               Little Rock, Arkansas 72201-3483
                                               501-372-6175
                                               Email: ccunningham@barberlawfum.com




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was filed using eFlex, the Arkansas Judiciary electronic
filing system, with the Clerk of Court of Pulaski County Circuit Court, who shall send
notification of such filing to the below counsel and, therefore, a true and correct copy of the
foregoing has been served on this, the 7 th day of May, 2019, upon Plaintiffs' counsel:

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Andrew M. Taylor, Esq.
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Tasha C. Taylor, Esq.
12921 Cantrell Road, Suite 205
Little Rock, Arkansas 72223



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